                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                           AT KNOXVILLE

 WILLIAM GRAY, PEGGY GRAY,                                     )
 GREGORY HOUSTON, and                                          )
 PATRICIA NICELY,                                              )
                                                               )
                  Plaintiffs,                                  )
                                                               )
 v.                                                            )      No.:   3:04-CV-591
                                                               )             (VARLAN/GUYTON)
 FIRST CENTURY BANK,                                           )
                                                               )
                  Defendant.                                   )
                                                               )
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 PATRICIA NICELY,                                              )
                                                               )
                  Plaintiff,                                   )
                                                               )
 v.                                                            )      No.:   3:05-CV-175
                                                               )             (VARLAN/GUYTON)
 FIRST CENTURY BANK,                                           )
                                                               )
                  Defendant.                                   )
                                                               )


                                                     ORDER

                  This civil action is before the Court pursuant to 28 U.S.C. § 636(b), the Rules of this

 Court, and by Order [Doc. 49] of the Honorable Thomas A. Varlan, United States District Judge,

 for disposition of Plaintiffs’ Motion for Modification of Protective Order. [Doc. 302] The plaintiffs

 move the Court to amend the Protective Order [Doc. 37] previously entered in this case to allow the

 plaintiffs to retain all discovery obtained in the instant federal actions and to use that discovery in

 related litigation pending before the Circuit Court for Union County, Tennessee in Case No. 2622.

 As grounds, the plaintiffs state that it would be a waste of resources to force the plaintiffs to return




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 all of the 20,000 plus documents obtained during discovery and to retake the twenty-seven plus

 depositions taken during the course of the federal litigation.

                 Defendants First Century Bank [Doc. 304], Deloris Graves [Doc. 305], and Sheri

 Lawson [Doc. 306] oppose the motion, arguing that the Protective Order states that:

                 Persons obtaining access to confidential information or stamped
                 confidential documents under this order shall use the information and
                 documents only for preparation and trial of this litigation (including
                 appeals and retrials), and shall not use such information and
                 documents for any other purpose, including business, governmental,
                 commercial, administrative, or judicial proceedings.

 [Doc. 37 at ¶ 10] The Protective Order further indicates that any documents obtained pursuant to

 the Order must be returned to the party that produced the documents within 120 days of the

 completion of the instant litigation. [Id. at ¶ 11] The defendants further contend that the

 admissibility of evidence in the state litigation should be left to the state court to decide.

                 The Court agrees that it would be inappropriate for this Court to rule on the

 admissibility of evidence in a civil action before another court. However, the Court agrees with the

 plaintiffs that it would be a waste of resources for the plaintiffs to return all discovery in this matter

 and then be forced to discover the same materials all over again. Accordingly, the Court finds the

 plaintiffs’ motion [Doc. 302] to be well-taken, the same is hereby GRANTED, and the Protective

 Order in this matter is amended as follows:

                 1.      The parties may retain all discovery obtained pursuant to the
                         instant federal actions and subject to the federal Protective
                         Order until such time as the Circuit Court for Union County
                         has had a chance to rule on the admissibility of that evidence
                         in Case No. 2622.

                 2.      The parties may retain and use any evidence ruled admissible
                         by the Circuit Court for Union County throughout the
                         pendency of the state action, subject to an appropriate
                         protective order to be entered in that case.

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            3.    Any evidence obtained pursuant to the Protective Order in the
                  federal litigation and ruled by the Circuit Court for Union
                  County to be inadmissible in the state litigation shall remain
                  subject to the Protective Order in the federal litigation. If the
                  federal litigation remains pending at the time of the Circuit
                  Court for Union County’s finding of inadmissibility, then all
                  such documents and information shall be returned to the
                  appropriate parties at the appropriate time as required by the
                  federal Protective Order. Should the federal litigation have
                  already been resolved at the time of the state court’s finding
                  of inadmissibility, all such inadmissible documents and
                  information shall be returned to the producing party within
                  sixty (60) days of the state court’s finding of inadmissibility.

            4.    Regardless of admissibility, all documents subject to the
                  Protective Order in the instant federal actions shall be
                  returned to the producing party no later than 120 days after
                  the completion of the latter of the instant federal litigation and
                  the related state court litigation in the Circuit Court for Union
                  County in Case No. 2622.

       IT IS SO ORDERED.

                                                   ENTER:


                                                        s/ H. Bruce Guyton
                                                   United States Magistrate Judge




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